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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,
                                           NO. 4:12-cr-00017-REL-RAW
            Plaintiff,

     vs.

JOSE ANTONIO GUERRA TURCIOS,
   a/k/a Nelson Guerra,

            Defendant.


 REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                  (PLEA AGREEMENT)

            The United States of America and the defendant,              having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge,      appeared before me pursuant to Fed.        R.    Crim.

P.   11 and LCrR 11.      The defendant      entered a     plea of guilty to

Count 1 of a Superseding Indictment charging him with conspiracy to

distribute 500 grams or more of a mixture and substance containing

methamphetamine, and 50 grams or more of actual methamphetamine, in

violation of 21 U.S.C.     §§   846 and 841 (b) (1) (A).   After advising and

questioning the defendant under oath concerning each of the subjects

addressed in Rule 11(b) (1), I determined that the guilty plea was in

its entirety voluntarily, knowingly and intelligently made and did

not result from force, threats, or promises (other than promises in

the plea agreement).      I further determined that there is a factual

basis for the guilty plea on each of the essential elements of the
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offense(s) in question.              A plea agreement was disclosed at the plea

proceeding and defendant stated he understood its terms and agreed

to be bound by them.                To the extent the plea agreement is of the

type specified in Rule 11 (c) (1) (A) or (C) defendant was advised the

district judge to whom the case is assigned may accept the plea

agreement   I    rej ect   it   I   or defer a    decision whether   to accept or

reject it until the judge has reviewed the presentence report as

provided by Rule 11 (c) (3) (A).            To the extent the plea agreement is

of the type speci fied in Rule 11 (c) (1) (B) defendant was advised by

the Court that defendant has no right to withdraw the plea if the

Court does not follow a recommendation or request in question.

                I recommend that the plea of guilty be accepted and that

the   defendant       be    adjudged      guilty    and   have   sentence   imposed

accordingly.       A presentence report has been ordered and a sentencing

date set.



                                                           MAGISTRATE JUDGE



                                           DATE


                                          NOTICE

             Failure by a party to file written objections to this
Report and Recommendation within fourteen (14) days from the date of
its service will result in waiver by that party of the right to make
obj ections    to   the  Report   and  Recommendation.      28  U. S. C.
§ 636 (b) (1) (B).  The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

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